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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

UBIQUITI NETWORKS, INC.,


Plaintiff,

v.
                                               Civil Action No.: 1:18-cv-05369
CAMBIUM NETWORKS, INC.;
CAMBIUM NETWORKS, LTD.;                        JURY TRIAL DEMANDED
BLIP NETWORKS, LLC;
WINNCOM TECHNOLOGIES, INC.;
SAKID AHMED; and DMITRY
MOISEEV,

Defendants.


        DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION TO DISMISS
              PLAINTIFF’S FIRST AMENDED COMPLAINT UNDER
                FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
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I.      INTRODUCTION

        Ubiquiti’s First Amended Complaint (“FAC”) continues to violate Rule 8 because Ubiquiti

continues to base its copyright, contract and other claims on firmware protected as “covered

works” under the GPL. By its order on May 22, 2019, this Court provided Ubiquiti with a

straightforward roadmap to avoid dismissal—Ubiquiti chose not to follow it. The Court’s Order

was clear: “Until Ubiquiti spells out at least the general nature of its allegedly misused firmware

that is not covered by the GPL and other open source software licenses, Defendants will not have

adequate notice of Ubiquiti’s claims.” Order at 8-9 (emphasis added). Critically, the Court spelled

out the full scope of the GPL waiver contained in the very contracts that Ubiquiti sought to enforce:

           As an open source software license, the GPL provides that a licensee (here,
           Ubiquiti) that “convey[s] a covered work . . . waive[s] any legal power to
           forbid circumvention of technological measures to the extent such
           circumvention is effected by exercising rights under” the GPL. Doc. 33-4 at
           4 (GPL version 3, effective June 29, 2007). . . . A “covered work” under the
           GPL includes “a work based” in whole or in part on open source software,
           but does not include “separate and independent works, which are not by their
           nature extensions of the covered work, and which are not combined with it
           such as to form a larger program.” Doc. 33-4 at 2, 5. As a result, the GPL
           propagates the rights associated with open source software to derivative
           programs, affording users of derivative programs the same “freedom to
           change the software” that the GPL guarantees. Id. at 2

Order at 4 (emphasis added). Nowhere in the FAC, the opposition briefing on this second motion

to dismiss, the briefing on the motion to lift the discovery stay or supporting expert declaration—

over 115 pages of substantive pleadings and briefing—does Ubiquiti allege that it is not asserting

a claim based on “covered works” as that term is defined by the Court under the GPL. It would

have been an easy task to make that allegation if Ubiquiti could do so without violating its Rule

11 obligations. Ubiquiti has refused, and its most recent opposition briefing does not deny it. That

flaw is fatal to its case and the Court need not entertain any further analysis. This issue is

dispositive of all of Ubiquiti’s claims and requires dismissal of the action with prejudice.



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II.      ARGUMENT

         A.       The FAC Must be Dismissed Under Rule 8 Because Ubiquiti Failed to
                  Disclaim All “Covered Works” and Maintains Claims to GPL Derivative
                  Software

                  1.      The Court Clearly Defined “Covered Works” and Prohibited Ubiquiti
                          From Asserting A Claim Based on Them

         The Court specifically recognized in its Order dismissing the Original Complaint that the

Ubiquiti Licenses1 expressly waive and disclaim any right to GPL protected software—whether

source or object code or whether used “as-is” or later modified by Ubiquiti. Thus, the GPL covers

not only the in-licensed GPL code itself, but also extends to derivatives and modifications made

by Ubiquiti as defined “covered works” under the GPL. It was this portion of the GPL license that

the Court quoted verbatim in its order above:

              A “covered work” under the GPL includes a “work based” in whole or in part
              on open source software, but does not include “separate and independent
              works, which are not by their nature extensions of the covered work, and
              which are not combined with it such as to form a larger program.”

Order at 4 (quoting GPL v.3, Dkt. No. 70-8). Accordingly, the law of the case establishes that

Ubiquiti must allege, if it can, that all the asserted firmware is not a “covered work” under the

definition adopted by the Court. Order at 4.2 Ubiquiti has failed to do so, and the Court should

dismiss Ubiquiti’s FAC with prejudice for violating the Court’s order.

                  2.      Dismissal Is Required Based on the FAC Alone

         The Court need not look beyond the four corners of the FAC and its exhibits to make this

determination. Dismissal is required—without referencing the Ubiquiti Open Source Archives—



1
  The “Ubiquiti Licenses” include the Ubiquiti Firmware License Agreement (“FULA”, FAC, Ex. B) and
the Ubiquiti End User License Agreement (“EULA”, FAC, Ex. C).
2
  “[T]he doctrine [of the law of the case] posits that when a court decides upon a rule of law, that decision
should continue to govern the same issues in subsequent stages in the same case. This rule . . . promotes the
finality and efficiency . . . by protecting against the agitation of settled issues.” Christianson v. Colt Indus.
Operating Corp., 486 U.S. 800, 815–16 (1988) (internal quotations omitted).


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based on Ubiquiti’s (1) admission in the FAC that its firmware includes software licensed under

the GPL and (2) refusal to address the full reach of the GPL in the terms expressly used by the

Court in dismissing the Original Complaint. Nowhere in the FAC does Ubiquiti exclude

derivations or “covered works.”

       Instead, the FAC broadly alleges violations of (1) Ubiquiti’s “Registered Firmware,” which

it defines as all “portions of Ubiquiti’s Firmware that constitute original authorship by Ubiquiti,”

(2) 18 packages that the “Registered Firmware includes, but is not limited to,” and (3) “Proprietary

Firmware” that includes the broadly defined Registered Firmware as well as licensed-in code and

“compilations of data” (collectively, the “asserted firmware”) FAC, ¶¶ 33, 37, 39, 137. However,

Ubiquiti also alleges that its firmware includes code licensed under the GPL. FAC, ¶ 34. Critically,

Ubiquiti does not disclaim that it is asserting firmware that is protected as derivative works under

the “covered works” definition of the GPL: Ubiquiti fails to heed the Court’s directive not to

include within any of its defined categories of asserted firmware those derivative works “based in

whole or in part on open source code,” or allege that these are “separate and independent works”

that are not “extensions of the covered work” and “are not combined with it such as to form a

larger program.” Order at 4. Instead, the FAC realleges that the asserted firmware only “generally

excludes” licensed-in GPL materials—an allegation that still includes both derivatives authored

by Ubiquiti employees and covered works that are combined with a larger program. See Original

Complaint, Ex. A (excluding “licensed-in materials” from asserted firmware); Order at 9

(dismissing Original Complaint).

       Further, although the FAC identifies 18 packages included in the Registered Firmware, the

Registered Firmware is “not limited to” those packages and clearly includes derivatives of

“covered works.” Id., ¶ 137. Moreover, Ubiquiti fails to allege elsewhere that the asserted firmware




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is not a “covered work” under the GPL anywhere in the remaining 115-pages of the FAC and

related briefing.

                3.      Without a Clear Exclusion of “Covered Works”, Ubiquiti’s Claims
                        Fail under FRCP 8

        Under Rule 8(a)(2)’s “straightforward” pleading requirement, the FAC does not provide

adequate notice of how Defendants allegedly violated Ubiquiti’s protectable rights in the asserted

firmware, in view of the GPL’s definition of “covered works.” See Stanard v. Nygren, 658 F.3d

792, 800 (7th Cir. 2011). Ubiquiti is claiming violations of the asserted firmware without

disclaiming “covered works” and maintains a claim as to open source derivative works. Still,

Ubiquiti acknowledges that the GPL and other open source software licenses limit its rights and

therefore the scope of its claims. This disconnect makes the scope of Defendants’ allegedly

unlawful conduct unintelligible, thereby violating Rule 8(a)(2).

        Ubiquiti’s identification of 18 packages in the asserted firmware does not remediate the

“disconnect” raised by the Court. Ubiquiti only “generally excludes” licensed-in GPL code from

the registered portions3 of those packages, without addressing whether derivative works of that

same code are also excluded or whether they are packaged with other protectible code, i.e., whether

or not they are “covered works.” Thus, even though the FAC specifically identifies 18 asserted

packages, the FAC contains the exact same “disconnect” as the Original Complaint, which also

merely alleged exclusion of in-licensed GPL code and not an exclusion of all derivative works.

See FAC, ¶35. Therefore, the FAC must be dismissed under Rule 8(a)(2).

        Even the new allegations that Ubiquiti makes for the first time in opposing this motion fail



3
  Ubiquiti “generally excludes” licensed-in GPL code from its Registered Firmware and then alleges that
the Registered Firmware includes code “associated with” the identified packages. FAC, ¶¶ 35, 37. Thus,
since the Registered Firmware includes only portions of the identified packages (e.g., “modifications to the
bootloader” packages), Ubiquiti does not allege that the full packages exclude GPL code.


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to allege that the asserted firmware is not a “covered work” as required by the Court. Specifically,

Ubiquiti argues that it “is not asserting copyright infringement for any modifications Ubiquiti

made to code received by Ubiquiti under the GPL” (Opp’n at 9), and that the Registered Firmware

is not “subject to”4 (Opp’n at 4, 6) or “covered by the GPL” (Opp’n at 12) (collectively the “new

allegations”), but this exclusion is not in the FAC or any of the four definitions used in it.

Moreover, these new allegations also fail to confront the Court’s definition of “covered works”

and must be dismissed.

        Given the clarity of the Court’s definition of “covered works” and the fact that it formed

the central argument of Defendants’ original motion to dismiss (which recited that phrase 37

times), Ubiquiti should have addressed the full meaning of “covered works” at least once in the

FAC, motion to lift the discovery stay, or opposition to this motion. Its failure to do so must be

interpreted as an attempt to avoid violating Rule 11. Put simply, Ubiquiti continues to assert claims

based entirely on “derivatives of covered works.” By repeatedly using the phrases “excludes

licensed-in material,” “subject to,” “covered by,” and “modifications Ubiquiti made to code

received by Ubiquiti under the GPL”—yet refusing to simply exclude all “covered works” from

its claims—Ubiquiti cleverly and intentionally continues to maintain a claim based on derivatives

of open source software and other “covered works” while feigning compliance.

        Now in its opposition, Ubiquiti’s repeated disclaimers of all modifications of GPL code

itself are not equivalent to simply disclaiming all covered works because “covered works” include

additional works other than mere “modifications.” As the Court noted in its Order, a “covered



4
  Ubiquiti argued in its Motion to Lift Discovery Stay that the FAC “expressly alleges” that the asserted
portions of its firmware are not “subject to the GPL,” while citing to FAC paragraphs 33, 35, and 36. Dkt.
No. 72 at 7. This notion was thoroughly debunked by Defendants in their opposition to that motion. Dkt.
No. 75 at 10. Presumably realizing it erred in claiming “express” support for this allegation, Ubiquiti no
longer argues that this allegation is “expressly” made in the FAC. See, e.g., Opp’n at 1, 2, 12.


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work . . . does not include ‘separate and independent works, which are by their nature extensions

of the covered work and which are not combined with it such as to form a larger program.’”

Order pg. 4. Thus, obtaining licensed-in GPL software and merely combining it with other related

Ubiquiti software to form a larger program renders the Ubiquiti software unprotectable even if the

open source software is never modified and the Ubiquiti software was entirely authored by

Ubiquiti personnel.

        The mere combination into a larger program is enough to dedicate the Ubiquiti code to the

public. Ubiquiti deliberately designed its conclusory allegations and serial definitions such that the

asserted firmware is not “subject to” or “covered by the GPL” to attempt to survive the present

motion while allowing Ubiquiti to deny ever affirmatively claiming under Rule 11 that the asserted

firmware was not a “covered work” when its code is ultimately shown to fall within the Court’s

definition.

        As a particularly egregious example of Ubiquiti’s calculated attempt to assert GPL-

protected code and survive dismissal by avoiding the term “covered works,” Ubiquiti now submits

that it is “not asserting copyright infringement for any modifications Ubiquiti made to code

received by Ubiquiti under the GPL.” Opp’n at 9. But this allegation conveniently fails to exclude

code that is still subject to the GPL but received from a commercial vendor, such as the asserted

u-boot files received from Atheros. FAC, ¶37. Ubiquiti goes to great lengths to avoid claiming that

these files are not “covered works” under the GPL because Ubiquiti simply cannot make that

allegation under Rule 11.5 Ubiquiti thus hides behind a technicality—the files are arguably not

“received by Ubiquiti under the GPL” directly from the author of the open source software—but


5
  Ubiquiti admits on its website that u-boot is a GPL-licensed open source bootloader, and it even currently
publishes the code for the asserted u-boot files there. Dkt. No. 70-12-F (list of tens of thousands of u-boot
files currently published under the GPL in the Ubiquiti Open Source Archive). Thus, Ubiquiti is on notice
that u-boot is covered by the GPL and cannot affirmatively state otherwise.


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were received indirectly from Atheros, even though the Atheros license passes on embedded open

source code (u-boot) to Ubiquiti under the applicable open source license (the GPL). See Dkt. No.

70-6. Despite the fact that the open source u-boot software came indirectly from Wolfgang Denk

(the author of u-boot, see Dkt. No. 70-7 at 1), Ubiquiti’s carefully worded allegation, without an

express exclusion of “covered works,” absolutely asserts a claim based on open source protected

software.

       This demonstrates clearly why the FAC should appropriately be dismissed for failing to

exclude all “covered works” under the GPL. Without that exclusion, Ubiquiti would otherwise be

allowed to gerrymander around the “covered works” definition and assert a claim based on open

source software simply because it obtained it through third party Atheros. Ubiquiti’s failure to

disclaim covered works leaves its claims deliberately commingled with open source code and

therefore renders its claim unintelligible. Accordingly, the FAC must be dismissed under Rule

8(a)(2) based solely on the allegations within the FAC and even in view of the new allegations in

Ubiquiti’s Opposition.

               4.      The FAC Should be Dismissed with Prejudice Because Ubiquiti
                       Repeatedly Failed to Comply with the Court’s Instructions

       The FAC must be dismissed again under Rule 8. This time, the dismissal should be with

prejudice because Ubiquiti has repeatedly and intentionally failed to follow the Court’s

instructions to disclaim covered works. Dismissal with prejudice is appropriate when—as here—

a Plaintiff fails to comply with a court’s instructions in amending a complaint. See Airborne

Beepers & Video, Inc. v. AT&T Mobility LLC, 499 F.3d 663, 668 (7th Cir. 2007) (affirming

dismissal with prejudice); Stanard, 658 F.3d at 801 (affirming dismissal with prejudice for

“flagrantly disobey[ing] the court’s patient instructions”).

       The Court’s Order clearly required Ubiquiti to disclaim GPL-protected code and provided



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Ubiquiti with a definition of GPL “covered works” to ensure compliance with its Order.

Defendants recognized the Court’s clear instruction. See generally, Dkt. No. 70. Nevertheless,

despite having the benefit of the Court’s Order and Defendants’ briefing, none of Ubiquiti’s FAC,

Opposition, motion to lift the discovery stay, and expert declaration—over 115 pages of

substantive pleadings and briefing—address (or even recite) the phrase “covered work” even once.

Ubiquiti’s intentional refusal to address this phrase amounts to more than just a failure to meet

“technicalities” under the pleading standard (which Ubiquiti contends would justify an

amendment). Opp. at 30 & n.20. It demonstrates Ubiquiti’s “flagrant[] disobey[al of] the court’s

patient instructions” and justifies dismissal with prejudice. Stanard, 658 F.3d at 801.

       Moreover, Ubiquiti demonstrates that further amendments would be futile because its own

descriptions of the asserted firmware prove the identified packages are covered works. For

example, Ubiquiti’s Opposition states that “[t]he FAC makes clear that Ubiquiti is excluding from

these nine modules any code Ubiquiti licensed under the GPL or other open source licenses.”

Opp’n at 9-10. Thus, Ubiquiti admits that the remaining nine modules (i.e., the identified packages)

contain GPL code and that Ubiquiti is attempting to exclude the embedded GPL code from those

packages. However, the GPL applies to “any work . . . that in whole or in part contains or is

derived from” GPL code. Dkt. No. 70-7 at 2. Therefore, by admitting that the identified packages

contain GPL code, Ubiquiti admits that they are “covered works” under the GPL. This example

reveals the game Ubiquiti is playing and will continue to play with any further amendments—

Ubiquiti is desperately attempting to stitch together some string of insufficient allegations to

survive a motion to dismiss while avoiding the Court and GPL’s definition of “covered work.”

Ubiquiti has had ample opportunity and notice to correct its defective pleading but failed to do so.

Therefore, the FAC should be dismissed with prejudice.




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        B.       Ubiquiti’s Newly Narrowed Claims are “Fundamentally Incompatible With”
                 the GPL and Cannot Substitute for an Operative Complaint

        Ubiquiti finally clarified in its opposition brief that it is not asserting that Cambium’s

firmware “Elevate infringes Ubiquiti’s copyrights, but rather, that Defendants’ development,

testing, installation and marketing of Elevate runs the Ubiquiti Firmware itself, thereby infringing

Ubiquiti’s copyrights in the Registered Firmware.” Opp’n at 20.6 But these claims—which are

based on breaches of the Ubiquiti Licenses limiting operation of the Ubiquiti firmware to prevent

installation of Cambium’s non-infringing firmware—are “fundamentally incompatible with” the

GPL license that Ubiquiti admits applies to its firmware:

             Some devices are designed to deny users access to install or run modified
             versions of the software inside them, although the manufacturer can do so.
             This is fundamentally incompatible with the aim of protecting users'
             freedom to change the software. The systematic pattern of such abuse occurs
             in the area of products for individuals to use, which is precisely where it is
             most unacceptable. Therefore, we have designed this version of the GPL to
             prohibit the practice for those products.

Dkt. No. 70-8 at 2 (GPL v.3). The GPL as applied to Ubiquiti’s firmware is expressly “designed”

to prohibit Ubiquiti’s claims.

        The Court also quoted provisions of the GPL that bar Ubiquiti’s claims:

             the GPL provides that a licensee (here, Ubiquiti) that ‘covey[s] a covered
             work . . . waive[s] any legal power to forbid circumvention of technological
             measures’ [and] disclaim[s] any intention to limit operation or modification
             of the [covered] work as a means of enforcing, against the work’s users, [the
             licensee’s] . . . legal rights to forbid circumvention of technological measures.

Order at 4 (emphasis added). Thus, the Court held that Ubiquiti waived its legal power, and

disclaimed any intention, to prohibit the alleged activities—development, testing, installation, and

marketing activities that are alleged to breach solely because they operate or modify Ubiquiti’s



6
 This is yet another new allegation. The FAC accuses Defendants of “using the Proprietary Firmware to
create substantially similar software. FAC, ¶ 53.


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firmware to install Cambium’s non-infringing firmware. Even if the Court determines that Ubiquiti

properly alleged that some portion of its firmware is not a covered work, Ubiquiti’s claims must

nevertheless be dismissed because Ubiquiti has waived its rights to bring these claims as the Court

previously found.

       C.      The New Allegations in Ubiquiti’s Opposition Are Not Supported By the
               FAC

       Ubiquiti’s Opposition conjures up entirely new allegations that are not contained in or

supported by the FAC. Ubiquiti now claims the FAC alleges that the Registered Firmware does

not contain “modifications” of GPL code (Opp. at 9), and that the Registered Firmware is not

“subject to” (Opp. at 4, 6) or “covered by the GPL” (Opp. at 12) (collectively the “new

allegations”). These new allegations are blatant mischaracterizations of the FAC that highlight its

deficiencies. Regarding Ubiquiti’s assertion that the “FAC identifies specific components of the

Registered Firmware that are not covered by the GPL” (Opp’n at 12), the term “covered” is only

used once in the 298 paragraphs of the FAC in an entirely different context. See FAC, ¶ 137 (“The

source code covered by the Registered Firmware . . . .”). Thus, contrary to Ubiquiti’s claim, the

FAC does not allege that the asserted firmware is not covered by the GPL. Similarly, the FAC

does not contain any allegation stating that the asserted firmware is “not subject to the GPL” or

that “Ubiquiti does not claim copyright in any modifications to software licensed under the GPL”.

While seemingly just semantic differences, Ubiquiti’s failure to allege what is required in light of

the GPL is telling. The GPL controls and Ubiquiti must allege that it is not asserting “covered

works.”

       The portions of the FAC cited by Ubiquiti in support of its new allegations (see Opp’n at

4, 6, 9, 12 (citing FAC, ¶¶ 33-37)) also do not provide support because they do not exclude code

that is subject to or covered by the GPL and do not exclude modifications of GPL code from the



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asserted firmware as Ubiquiti now alleges.

   Portion of FAC Cited as Support for New                  Why Cited Portion Fails to Support New
                     Allegations                                            Allegations
 “the portions of Ubiquiti’s Firmware that             Any portions of firmware originally authored by
 constitute original authorship by Ubiquiti,           Ubiquiti that was created by modifying GPL
 and thus are protectable by the registered            packages are derivative works. editing existing GPL
 copyrights . . . , including the computer             files or adding new files remain subject to the GPL,
 programs . . . and related comments and               regardless of if they are copyright eligible.
 compilations of data” FAC, ¶ 33.
 “Ubiquiti’s Firmware also includes code            Ubiquiti’s definition of Registered Firmware
 authored by third-parties that is subject to       includes all “portions of Ubiquiti’s Firmware that
 third-party license agreements (the “licensed-     constitute original authorship by Ubiquiti”. FAC,
 in materials”). The licensed-in materials          ¶ 33. Excluding licensed-in materials does not
 encompass code licensed under one or more          exclude derivatives or modifications of GPL
 open source licenses, including the GNU            licensed-in materials, which fall within the GPL
 General Public License (“GPL”), as well as         and Court’s definition of “covered works.” Other
 code licensed to Ubiquiti pursuant to direct       allegations do not disclaim any works from
 license agreements with third-party                Registered Firmware, they only include
 companies.” FAC, ¶ 34.                             modifications of non-GPL code.
 “However, when Ubiquiti modifies licensed-         This passage does not exclude code “combined…to
 in materials from third parties that are not       form a larger program.” Ubiquiti’s registrations
 subject to the GPL, Ubiquiti owns the              apply to modifications of all licensed-in code
 copyright to such modifications.” FAC, ¶ 35.       (including GPL-licensed code). Ubiquiti’s alleged
                                                    copyrighted materials do not exclude the derivative
                                                    materials subject to the GPL.
 “Because each version of the Registered            This passage does not address the scope of the GPL
 Firmware was registered for copyright ‘before because Ubiquiti may obtain a copyright
 or within five years [of its] first publication, ‘ registration on code that is a covered work under
 each copyright registration certificate included the GPL.
 in Exhibit A constitutes ‘prima facie evidence
 of the validity of the copyright and of the facts
 stated in the certificate.’” FAC, ¶ 36
 “The Registered Firmware includes computer This passage does not allege that any of the
 programs (source and object code), and             identified packages exclude GPL licensed-in
 related comments and compilations of data          materials.
 associated with the following . . .” FAC, ¶ 37.
 All cited allegations                              These passages fail to exclude versions licensed out
                                                    by Ubiquiti under the GPL or Ubiquiti-authored
                                                    GPL derivatives.

Ubiquiti’s argument that the FAC contains the new allegations is false: The FAC continues to

claim derivatives of GPL open source code authored by Ubiquiti and “covered works.”




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        D.     Ubiquiti’s Statements at the Hearing are Binding Judicial Admissions

        If it does not dismiss the FAC in its entirety, the Court should at least limit the new and

expansive claims in the FAC to the “four matters” Ubiquiti identified at the hearing on Defendants’

first motion to dismiss. Ubiquiti’s calculated and deliberate verbal statements7 on the record were

judicial admissions. First, Ubiquiti contends that exemplary statements, such as answers to

“hypothetical” questions posed by the court, are not properly subject to judicial admissions. Opp’n

at 11 & n.7. However, Ubiquiti’s responses were not exemplary—they deliberately limited the

scope of its claims after full briefing on that precise issue in a calculated attempt to save the

Original Complaint from dismissal. See Dkt. No. 70-1, Ex. 1 at 13-18.

        Ubiquiti also contends that its admissions attributable to the Original Complaint cannot be

used to limit the scope of a future complaint. Opp’n at 11. But this contention is not supported by

relevant case law. For example, in Mopex the plaintiff had previously admitted in opposing a

motion to dismiss “that it should have discovered [its] claims when [certain] products began

publicly trading.” Mopex, Inc. v. Barclays Global Investors, N.A., No. 01 C 5976, 2003 WL

880996 at *2 (N.D. Ill. Mar. 5, 2003). The plaintiff thereafter filed an amended complaint that

admitted that the products began publicly trading on a date that foreclosed plaintiff’s claim under

the statute of limitations. Id., at *2. The court combined these admissions and dismissed the

plaintiff’s amended complaint with prejudice. Similarly, the Court should combine these

admissions and limit the scope of the FAC to the “four matters” identified at the hearing.




7
 Contrary to Ubiquiti’s assertion (see Opp’n at 11), verbal admissions during questioning can constitute
“binding judicial admission[s], the same as any other formal concession made during the course of
proceedings.” McCaskill v. SCI Mgmt. Corp., 298 F.3d 677, 680 (7th Cir. 2002) (citations omitted).


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        E.      All 18 Specifically Identified Packages Were Distributed in Source or Object
                Form Under the GPL in Ubiquiti’s Open Source Archives

        The pleadings show that each package identified in the FAC was licensed by Ubiquiti under

the GPL. This conclusion is supported by the Declaration of Jeff Fischer, which maps the source

or object code files contained in the Ubiquiti Open Source Archives back to each package or file

identified in the FAC. See generally Dkt. No. 70-12.8 The expert declaration merely maps the

language of the EULA and FULA attached to the FAC to the ubiquiti.com website (and its

prominent GPL notices and its Open Source Archives), and these sources together plainly state

that the GPL applies to the code contained therein. Dkt. No. 70-12, ¶¶ 16-18, 20-21. It identifies

matching code file names for each one of the “packages” identified in the FAC within the Ubiquiti

Open Source Archives. Id., ¶¶ 23-38.

        The Fischer Declaration then analyzes the Ubiquiti Open Source Archive files for any

proprietary notices that might serve as a disclaimer to exclude any file from the reach of the GPL,

whether or not such an exclusion would be allowed under the GPL. Id., ¶¶ 21, 43. It concludes

that, based on the prominent GPL notices and lack of visible proprietary disclaimers, the files in

the Ubiquiti Open Source Archives are licensed under the GPL. Id., ¶ 39. In sum, his findings state

the obvious—when you distribute code with notices indicating that code is licensed under the GPL,

without any proprietary disclaimer, then the GPL applies to that distribution and to all specific

packages or files identified in the FAC. Id.

        Ubiquiti takes issue with Fischer’s conclusions for a variety of reasons, including his

conclusion that “human readable source code identified in the FAC . . . is a ‘match’ for unreadable

object code in the SDK.” Opp’n at 17. But the GPL license expressly applies through distributions



8
 Ubiquiti’s expert, Fenn, admits that the identified SDK’s indeed do correspond to the asserted versions of
AirOS. Dkt. No. 72-1, ¶ 10.


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of object code to cover the “corresponding source code.” Dkt. No. 70-7 (GPL v.2), § 3. Thus,

Ubiquiti’s distribution of object code under the GPL covers the “matching” corresponding source.

       But Ubiquiti’s unfounded critiques of Fischer’s conclusions all fail to address the key point.

Despite the clear admonition in the Court’s Order not to assert claims based on “covered works”

including derivatives under the GPL license, Ubiquiti continues to do so.

       F.      The Motion to Dismiss Is Dispositive of All Claims

       Ubiquiti contends that the arguments in Defendants’ motion to dismiss are not dispositive

of all claims in the FAC. However, as the Court recognized in its Order, the GPL issue is

dispositive of all asserted claims. See Order at 9. The FAC asserts a mere subset of the claims

asserted in the Original complaint, and Defendants’ motion to dismiss the FAC presents similar

grounds for dismissal. Thus, Defendants’ GPL arguments are again dispositive of the same claims

in the FAC.

       Ubiquiti argues that “there is nothing improper” about asserting contractual restrictions on

data that is not copyright eligible—such as the “data in the configuration and calibration files” and

the materials licensed from Atheros that form part of the Proprietary Firmware. Opp’n at 21-22.

But “covered works” under the GPL do not distinguish based on copyrightability—they include

copyright eligible and ineligible works. Thus, Ubiquiti’s admission that its firmware contains GPL

code and its failure to exclude “covered works” from its Proprietary Firmware bars Ubiquiti from

asserting its contractual restrictions: “You may not impose any further restrictions on the

recipients’ exercise of the rights granted herein.” Dkt. No. 70-7 at 4-5 (GPL v.2). Separately

defining Proprietary Firmware does not save Ubiquiti’s allegations.

       Ubiquiti also argues that Defendants fail to address false advertising claims regarding

statements about that Ubiquiti’s Firmware is present on a device after installing Elevate because

Ubiquiti authored the firmware and therefore owns a proprietary interest in any remaining portions.


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Opp’n at 24. However, the FAC alleges that the only items that remain on the devices after

installation are “configuration and calibration files,” which are defined as “data.” FAC, ¶¶ 39, 59,

73. Defendants argued Ubiquiti “failed to establish a proprietary interest in any of the firmware,”

including the “data” in these files. Mem. at 27. Moreover, Defendants also argued that such “data

and information [is] not protectable—adding the word proprietary does not state a claim.” Mem.

at 2. Thus, Defendants established that Ubiquiti does not have a proprietary interest in the “data”

alleged to remain and thus that any alleged statements were not false.

       Similarly, Ubiquiti contends that it need not cite to a regulation to state a claim regarding

whether Defendants’ alleged statements regarding rectifying violations of FCC regulations were

false. Opp’n at 25. Yet Ubiquiti’s allegation depends on a violation to show that Defendants’

statement is actually false. Thus, as Defendants’ previously argued, Ubiquiti’s failure to identify a

regulation that has been violated fails to plausibly support its claims. Mem. at 27. Thus,

Defendants’ motion to dismiss is dispositive of all claims.

III.   CONCLUSION

       Defendants respectfully submit that the FAC fails to satisfy Rule 8 and should be dismissed

with prejudice.




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Dated: August 27, 2019                   Respectfully submitted,

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